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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 NATALIE REESER,
                                          Case No. 2:14-cv-11916-GCS-MJH
             Plaintiff,                   Hon. George Caram Steeh
 v                                        Magistrate Stephanie Dawkins Davis
 HENRY FORD HEALTH SYSTEM
 d/b/a HENRY FORD HOSPITAL,
             Defendant.

 MILLER COHEN, P.L.C.                   VARNUM LLP
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      DEFENDANT'S RESPONSE IN OPPOSITION TO PLAINTIFF'S
               MOTION FOR ATTORNEYS' FEES
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               CONCISE STATEMENT OF ISSUES PRESENTED

 I.     Whether Plaintiff has failed to demonstrate that she is a prevailing party
        entitled to any attorneys’ fees?

 II.    Whether Plaintiff has failed to meet her burden to support the reasonableness
        of her request for attorneys’ fees in the amount of $315,133.32?

 III.   Whether Plaintiff’s request for attorneys’ fees is unreasonable due to inflated
        billing rates, considering the experience level of counsel and because the
        claims at issue were garden variety retaliation and whistleblower claims?

 IV.    Whether Plaintiff’s counsels’ time records including excessive and
        redundant entries, inconsistent entries, block billed entries, entries for
        clerical work and vague entries with no detail relating to the work
        performed, or vague entries describing the work but without sufficient detail
        to discern its purpose or activity, should be disallowed or significantly
        reduced since they are inadequate to support her petition, as a matter of law?

 V.     Whether Plaintiff’s request for attorneys' fees for such activities as
        conducting internal office meeting among attorneys and support staff and
        overstaffing depositions are unreasonable and should be disallowed?

 VI.    Whether Plaintiff's request for attorneys' fees for Ada Verloren should be
        disallowed because the request does not comply with ED Mich LR 54.1.2
        and her supporting affidavit was untimely filed in violation of the Local
        Rule?

 VII. Whether Plaintiff's request for attorneys' fees should be significantly reduced
      to reflect the limited degree of success on the merits, where Plaintiff sought
      more than $730,000 at trial, but was awarded only $3,200 on her
      whistleblower claim, nothing for her FLSA retaliation claim and was
      awarded no non-economic damages?


 Defendant Henry Ford Health System answers "yes" to each of these questions.




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                                  INTRODUCTION

       Plaintiff Natalie Reeser's ("Plaintiff") request for attorneys' fees and costs in

 the amount of $315,133.32 is excessive and unreasonable and should be denied in

 its entirety, or at least, drastically reduced to a nominal award.

       Plaintiff foolishly rejected Defendant's pretrial settlement offers of $10,000

 and $15,000. At trial, Plaintiff sought in excess of $730,000 in damages. The jury

 found in favor of Defendant on the FLSA claim, and awarded Plaintiff only $3,200

 in economic damages on her WPA claim. Plaintiff was awarded no non-economic

 damages. In addition, this Court found the Plaintiff's proofs at trial failed to

 establish her entitlement to a jury instruction on punitive damages.

       Despite this verdict, Plaintiff now seeks a ridiculously excessive

 $315,133.32 in attorneys' fees. The WPA allows for an award of attorneys' fees

 only if the Court determines that an award is appropriate. An award is not

 appropriate here because Plaintiff was not a prevailing party since she did not

 receive a judgment in an amount greater than the offers made by Defendant.

 Further, Plaintiff did not achieve a level of success sufficient to justify the amount

 of fees sought by her counsel; the amount of time spent by counsel was

 unreasonable, undocumented, and billed at inflated hourly rates.             The fees

 requested must also be reduced as a result of her attorneys' vague and block-billed

 entries, and time spent on clerical matters and interoffice "conferences," should be


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 excluded in their entirety. Plaintiff is obviously attempting to turn a failed case

 into a grossly inappropriate windfall for her attorneys.

                                     ARGUMENT

 I.    Plaintiff Was Not A "Prevailing Party" And Therefore Is Not Entitled
       To An Award Of Any Attorneys' Fees.
       A party must be a “financially successful or prevailing party” to be entitled

 to an award of fees and costs under the WPA.        Gomery v. Crest Fin., Inc., No.

 250881, 2005 WL 658818, at *1 (Mich. Ct. App. Mar. 22, 2005)1 under M.C.L. §

 37.2802; MSA 3.548(802);          Dresselhouse v. Chrysler Corp., 177 Mich. App.

 470, 483, 442 N.W.2d 705 (1989). "In order to be considered the prevailing party,

 [the party is] required to show at the very least that its position was improved by

 the litigation. Under the 'improved position' test, a plaintiff's position 'improves'

 when the plaintiff receives a judgment 'in an amount greater than the offer made by

 defendants.'" See Gomery, supra; see also Stamp v. Hagerman, 181 Mich. App.

 332, 338, 448 N.W.2d 849, 851-52 (1989) (finding plaintiff did not prevail because

 the adjusted verdict was less than the offer made by defendants under the court

 rule). Forest City Enterprises, Inc. v. Leemon Oil Co., 228 Mich. App. 57, 81, 577

 N.W.2d 150 (1998) (recovery of some damages is not enough; in order to be

 considered a prevailing party, that party must show, at the very least, that its


       1
           Unpublished cases are attached hereto as Exhibit 1.


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  position was improved by the litigation); Ullery v. Sobie, 196 Mich. App. 76, 82,

  492 N.W.2d 739 (1992); Stamp supra.

        During a settlement conference with Magistrate Judge Mona Majzoub on

  March 11, 2016, Defendant offered $10,000 to settle this matter, which Plaintiff

  rejected. (Ex. 2, Miglio Affidavit) On May 6, 2016, Defendant offered $15,000 to

  settle the case. (Id; Ex. 3, Miglio May 6, 2016 email) Plaintiff rejected and

  countered with an unreasonable demand of $100,000. (Ex. 2, Miglio Affidavit)

  While Plaintiff ridiculously sought $730,000 at trial, the jury awarded her a paltry

  $3,200, significantly less than Defendant's settlement offers of $10,000 and

  $15,000. Thus, Plaintiff cannot, as a matter of law, be considered the prevailing

  party, where she failed to secure a judgment "in an amount greater than the offer

  made by defendants." See Gomery, supra. Plaintiff's request for attorneys' fees

  must be denied in its entirety.

  II.   Attorneys' Fees Under The WPA Are Recoverable Only Where The
        Court Determines That Such An Award Meets the Statute's
        Requirement of "Appropriate."
        Even if Plaintiff could be considered a prevailing party, this Court should

  nonetheless deny her Motion for attorneys' fees in its entirety. The WPA provides

  in relevant part:

        A court may also award the complainant all or a portion of the costs
        of litigation, including reasonable attorney fees and witness fees, if
        the court determines that the award is appropriate.



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  See MCL §15.364 (emphasis added).

        An award of attorneys' fees under the WPA is not mandatory, even to a

  prevailing party. A court may award attorneys' fees, but only if it determines that

  such an award is appropriate. Here, there are substantial reasons to deny Plaintiff a

  fee award.

        First, as set forth more fully in Defendant's Post Judgment Motion for

  Discovery Sanctions, Plaintiff flagrantly obstructed the discovery process by: (1)

  refusing to provide information concerning her hospitalization for mental health

  treatment, and (2) refusing to produce documents and information during

  discovery, which she produced for the first time at the commencement of trial in

  response to Defendant's trial subpoena.

        Second, the Court should not reward Plaintiff for her inappropriate conduct.

  As this Court will recall, Plaintiff engaged in highly inappropriate conduct at trial.

  Plaintiff made faces at witnesses, verbally assaulted witnesses when they were

  done testifying, falsely accused defense counsel of abusing and harassing her

  during her deposition, and refused to answer questions on the stand, thus requiring

  the Court to direct her to respond.

        Third, as this Court will undoubtedly conclude, the submission by Plaintiff

  and her attorneys of an inflated fee request in excess of $315,000 after essentially




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  losing the case, constitutes overreaching and continued bad faith. Accordingly, an

  award of attorneys' fees is not appropriate under the statute.

  III.   Even If This Court Determines That An Award of Attorneys' Fees Is
         Appropriate Under The Statute, The Amount Plaintiff Requests Must
         Be Drastically Reduced.
         "The primary concern in an attorney fee case is that the fee awarded be

  reasonable. A reasonable fee is 'one that is adequate to attract competent counsel,

  but ... [does] not produce windfalls to attorneys.'" Reed v. Rhodes, 179 F.3d 453,

  471 (6th Cir. 1999). Plaintiff bears "the burden of proving the reasonableness of

  the requested fees[.]" Smith v. Khouri, 481 Mich. 579, 585, 751 N.W.2d 472, 478

  (Mich. 2008). To start, a court is to determine the “fee customarily charged in the

  locality for similar legal services[.]” Id. at 479. A court should look to “reliable

  surveys or other credible evidence of the legal market” to make such a

  determination. Id. After making findings on that hourly rate, a court is to multiply

  that number by the reasonable number of hours expended on the case. Id. That

  total is to serve as a trial court's starting point in calculating reasonable attorneys'

  fees. Id. From that total, a court then is to look at other factors to determine

  whether to make adjustments to that initial figure. Smith, 751 N.W.2d at 478–79.

  Those factors include (1) the skill, time, and labor involved, (2) the likelihood, if

  apparent to the client, that the acceptance of the employment will preclude other

  employment by the lawyer, (3) the fee customarily charged in that locality for



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  similar services, (4) the amount in question and the results achieved, (5) the

  expense incurred, (6) the time limitations imposed by the client or the

  circumstances, (7) the nature and length of the professional relationship with the

  client, (8) the professional standing and experience of the attorney, and (9) whether

  the fee is fixed or contingent. See Gomery, 2005 WL 658818, at *2 (the Wood

  factors).

        Plaintiff's bad faith conduct in seeking an exorbitant amount of attorney fees

  is an attempt to achieve a wholly undeserved reward for essentially losing the case.

  Even if the Court were to decide that Plaintiff is entitled to an award of fees, her

  request must be drastically reduced.

        A.     The Inflated Hourly Rates Requested By Plaintiff's Counsel Are
               Unreasonable.
        A reasonable hourly billing rate is generally calculated according to the

  prevailing market rates in the relevant community. Blum v. Stenson, 465 U.S. 886,

  895 (1984); see also Adcock-Ladd v. Sec’y of Treasury, 227 F.3d 343, 350 (6th Cir.

  2000) (finding that "the court should deem the 'relevant community' for fee

  purposes to constitute the legal community within the court’s territorial

  jurisdiction; thus, the 'prevailing market rate' is the rate which lawyers of

  comparable skill and experience can reasonably expect to command within the

  venue of the court of record"). The burden is on the fee applicant "to produce

  satisfactory evidence—in addition to the attorney’s own affidavits—that the


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  requested rates are in line with those prevailing in the community for similar

  services by lawyers of reasonably comparable skill, experience, and reputation."

  Blum, 465 U.S. at 896 n.11 (emphasis added).

        Plaintiff points to the "2014 Economics of Law Practice Attorney Income

  and Billing Rate Summary Report" ("2014 Report") to support her attorneys'

  requested hourly rates. (Motion, Exhibit B) However, based upon the 2014

  Report, all four attorneys have requested hourly rates far above the median rates

  for attorneys with comparable skill, experience, and reputation:

     • Keith Flynn, the lead attorney in this case, requests an hourly rate of $275.
       Flynn has been practicing for five years. The median rate in the 2014 Report
       for an attorney with 3-5 years of practice is $200.

     • Adam Graham requests an hourly rate of $250. Graham has been licensed
       for one year, and was not even a licensed attorney when this case was filed
       in 2014. The median rate in the 2014 Report for an attorney with one year
       of practice is $189.

     • Ada Verloren requests an hourly rate of $275. Verloren has been practicing
       for 18 years. The median rate in the 2014 Report for an attorney with 16-25
       years of practice is $269.2

     • Richard Mack requests an hourly rate of $300. Mack has been practicing for
       17 years. The median rate in the 2014 Report for an attorney with 16-25
       years of practice is $269.

  Moreover, the attorneys' affidavits do not substantiate that they have the skill,

  experience or reputation to justify the higher rate.3

        2
          The fees request for Verloren's and Mack's time should be excluded in their
  entirety as addressed below.

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        Courts have relied on the most recent State Bar Report to determine

  reasonable billing rates in similar circumstances. See, e.g., Bailey v. Scoutware,

  LLC, No. 12-10281, 2014 WL 11309770 (E.D. Mich. Aug. 19, 2014) (setting $250

  as a reasonable rate for attorneys working in Detroit and Downtown Detroit and for

  those attorneys with twenty-six to thirty-five years of experience); Fialka-Feldman

  v. Oakland Univ. Bd. Of Trustees, No. 08-14922, 2010 WL 2572768, at *5 (E.D.

  Mich. June 23, 2010) (setting reasonable billing rates in civil rights matter

  practicing between 30 and 39 years at $200.00 per hour based on 2007 survey);

  Terry v. Al-Naimi, No. 07-141-30, 2009 WL 728542, at * (E.D. Mich. March 19,

  2009) (finding that $200 hourly rate for an attorney in the Detroit area with under

  three years' experience is excessive and reducing it to $150).

        Plaintiff's attorneys argue that their claimed hourly rates are reasonable

  citing to the 2014 Report for billing rates for attorneys who practice in downtown

  Detroit in the field of employment law. 4 (Motion, p. 6) This argument is without


        3
           The Court should utilize at most the "median" rate set forth in the 2014
  Report in calculating rates for Plaintiff's counsel, because the median rate more
  accurately reflects the middle rate charged by attorneys in the same locality for
  similar services. As the Report explains "[t]he median is the middle value in a
  series" and "[b]y definition, half the numbers are greater, and half are less than the
  median." "Use of the median as a statistical metric of central tendency reduces the
  effects of 'outliers'…[m]edian values are utilized throughout the survey results to
  denote the measure of central tendency." (Motion, Ex. B)
         4
           Plaintiff suggests that Miller Cohen is a "well-renowned" labor and
  employment firm and that two of its attorneys have been recognized as "Super
  Lawyers" and two have been recognized as "Rising Stars." (Motion, p. 5) While

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  merit. Neither the size of the firm, the practice area, nor the location of the office

  establishes the skill level, experience, or reputation of an attorney. To claim that

  these attorneys are entitled to rates more than $60-$75 above the median for

  attorneys having their level of experience, simply because that they work at a firm

  in downtown Detroit and practice employment law, is utterly ridiculous.

        Accordingly, based on the 2014 Report, Flynn's rate should be reduced from

  $275 to at most $200, Graham's rate should be reduced from $250 to at most $189,

  and Mack and Verloren's rates should be reduced from $300 and $275,

  respectively, to at most $269. This reduces the amount sought by Flynn from

  $172,865 to $125,720. Graham's fees would be reduced from $114,248.32 to

  $87,062.85; Verloren's fees would be reduced from $23,265 to $22,757.40, and

  Mack's fees would be reduced from $4,755 to $4,263.65. Using appropriate hourly

  rates, with no other reductions, reduces Plaintiff's fee request by $75,329.42.

        B.     This Case Was Not Complicated And Plaintiff's Attorneys Spent
               Unnecessary And Excessive Time Due To Their Unreasonableness
               And Their Client's Misconduct.
        Plaintiff asserts that the issues in this lawsuit were "complicated" and that a

  significant portion of time expended on the litigation was due to the actions of

  Defendant, thus making her requested fees "eminently reasonable." (Motion, p. 9)

  Miller Cohen attorneys may have received these accolades in 2012, neither Flynn
  nor Graham have been recognized as "Super Lawyers" or "Rising Stars." Neither
  has any significant trial experience and in any event, such accolades are not a
  substitute or a measure of skill, experience or reputation of either attorney.

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  Plaintiff complains she was "constantly forced to reply to motion after motion after

  motion." (Motion, p. 9.) In fact, the majority of the motions Defendant filed

  were required because of Plaintiff's failure to comply with discovery rules.

  Specifically, Defendant was forced to file three motions to compel and two

  motions to strike Plaintiff's claim for emotional and mental distress damages, all

  necessitated by Plaintiff's deliberate flaunting of her discovery obligations. If

  Plaintiff or her counsel had been forthcoming during discovery, had produced

  requested documents, and disclosed her mental health treaters as required,

  Defendant would not have been required to file these motions.             In addition,

  Defendant was required to file a number of motions in limine before trial due to

  Plaintiff's exorbitant claims for lost wages and mental distress damages. In sum,

  much of the "time" and "labor" that was expended during the course of the

  litigation was due to Plaintiff's and her attorneys' failure to cooperate in discovery.

  No expert witnesses, statistical evidence, or complicated proofs were involved in

  this case. No specialized skill was necessary to prosecute Plaintiff's garden variety

  retaliation claims. Plaintiff's attorneys should not now be rewarded for numerous

  instances when they spent unnecessary and excessive time:

     • Time spent on HIPAA. Plaintiff's claim that the case was "complex" because
       it involved HIPAA is absurd. It was Plaintiff who violated HIPAA and
       Defendant's policy concerning HIPAA-protected information when she
       admitted she removed confidential information regarding patients from her
       work location. This included confidential patient information contained in
       emails, which Plaintiff produced to Defendant on August 1, 2014. (Ex. 4,

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        emails produced by Plaintiff as well as patient sign in sheets. Defendant's
        policy provides that removing confidential patient information for personal
        benefit is a terminable offense. (Ex. 5, HFHS System-Wide Corrective
        Program HR Policy No. 5.17) The time Plaintiff's attorneys spent on
        researching HIPAA and Defendant's after acquired evidence defense was
        due to their own client's misconduct! Moreover, Plaintiff's attorneys wasted
        at least 13.5 hours researching and crafting an argument that she had not
        violated HIPAA in an effort to exclude evidence of her misconduct from
        trial, when the only issue was whether she violated Defendant's policy.
        Plaintiff should not be rewarded with attorneys' fees for an issue that arose
        solely due to her misconduct. This entailed 12.7 hours for total claimed fees
        of $3,325.

     • Plaintiff's Motion to Amend the Complaint (ECF Dkt. #47) and Reply Brief
       (ECF Dkt. #51). Plaintiff did not sue the correct party. Plaintiff's attorneys
       could have avoided this ridiculous mistake with a simple search for Henry
       Ford Hospital on the Michigan Department of Licensing and Regulation
       website which reveals it is not a corporation. Defendant put Plaintiff on
       notice that she named the wrong Defendant in Defendant's Answer to
       Plaintiff's Complaint and Affirmative Defenses (ECF Dkt. #6) as well as its
       discovery responses. (Ex. 6, Discovery Responses.) Despite this, Plaintiff
       waited a year to seek to Amend her Complaint, and then amended it a
       second time due to her own clerical errors. The only change to the
       Complaint was the name of the Defendant. This entailed 24.2 hours, for
       total claimed fees of $6437.50, none of which should have been expended.

     • Opposing a four-day extension of the dispositive motion filing date.
       Defendant was forced to file a Motion to Extend the deadline for filing
       dispositive motions by four days due to the late arrival of deposition
       transcripts, after Plaintiff's counsel unreasonably refused to agree. (ECF
       Dkt. #37) Plaintiff's counsel ridiculously opposed the Motion with a
       response brief and exhibits that totaled 100 pages! (ECF Dkt #38) The
       Court granted Defendant's motion. (ECF Dkt. #40) This example of
       unprofessional conduct entailed 10.5 hours, for total claimed fees of
       $2,812.50 and must be excluded.

     • Defendant's motion to compel an examination of Plaintiff's phone.
       Defendant was forced to file a Motion to Compel Inspection of Original
       Documents and Forensic Examination of Plaintiff's Cellular Phone (ECF
       Dkt. #34), as a result of Plaintiff's failure to produce documents. The

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        Magistrate granted Defendant's Motion (ECF Dkt. #48) and the forensic
        examination revealed documents that Plaintiff failed to produce in response
        to discovery requests. All fees associated with opposing Defendant's Motion
        and the forensic exam of Plaintiff's phone must be excluded since the motion
        was necessitated by Plaintiff's own misconduct. 5 This entailed 58.5 hours,
        for total claimed fees of $15,085. (Ex. 7)

        In sum, 105.9 hours, for total claimed fees of $27,660, for legal work that

  did not need to be performed, but for Plaintiff's misconduct and her attorneys'

  unreasonableness, should be excluded.

        C.     Entries For Time Which Is Excessive, Redundant, Inconsistent,
               Block Billed And/Or Was For Clerical Tasks Must Be Disallowed.
        Assuming she is entitled to any attorney fees, Plaintiff has the burden to

  prove that the number of hours expended by her attorneys on the litigation was

  reasonable. Granzeier v. Middleton, 173 F.3d 568, 577 (6th Cir. 1999). Here, the

  majority of Plaintiff's attorneys' time entries are excessive, redundant, block billed,

  and/or clerical tasks, which are not recoverable.

               1)     Excessive and Redundant Entries.

        Plaintiff's attorneys have a duty to make a good faith effort to exclude from

  their fee request hours that are excessive, redundant, or otherwise unnecessary.

  Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).              They failed to do so.

  Significantly, "[c]ourts are obligated to prune unnecessary hours from fee petitions


        5
         Plaintiff's refusal to cooperate in discovery is also the subject of
  Defendant's Post Judgment Motion for Discovery Sanctions.


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  because, '[c]ourts are not authorized to be generous with the money of others, and

  it is as much the duty of courts to see that excessive fees and expenses are not

  awarded as it is to see that an adequate amount is awarded.'" Dallas v. Commr. of

  Soc. Sec., No. 1:13-CV-00591, 2014 WL 1767815 (N.D. Ohio May 2, 2014)

  quoting ACLU v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999). A Court must

  exclude from a fee award hours that were not "reasonably expended."               See

  Hensley, 461 U.S. at 434.

        The Reed court explained:

        Although hours claimed or spent on a case should not be the sole basis
        for determining a fee, they are a necessary ingredient to be
        considered. The trial judge should weigh the hours claimed against his
        own knowledge, experience, and expertise of the time required to
        complete similar activities. If more than one attorney is involved, the
        possibility of duplication of effort along with the proper utilization of
        time should be scrutinized. The time of two or three lawyers in a
        courtroom or conference when one would do, may obviously be
        discounted.

  See Reed, supra, quoting Johnson v. Georgia Highway Express, Inc., 488 F.2d

  714, 717 (5th Cir. 1974). The Reed court concluded that, “[s]tated differently, a

  reasonable fee is one predicated, in part, on time required to resolve an issue, not

  the time actually expended.” Id.

        For example, the following claimed fees are incredibly excessive and/or

  redundant and must be disallowed or drastically reduced:

            • Flynn spent 13 hours drafting the two-count Complaint and another 7
              hours engaged in research related to the Complaint ($5,500);

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              • Flynn spent 7.5 hours drafting a Rule 26(f) plan and attending the
                Rule 26(f) conference ($1,925);

              • Verloren, who was licensed to practice in 1997, spent 9.5 hours
                drafting interrogatories and requests to produce. These were form
                discovery requests, which included 11 interrogatories and 38
                document requests ($2,612.50);

              • Flynn and Verloren spent a combined 27.2 hours drafting a Motion to
                Compel, a Reply brief, and resolved/unresolved issues ($7,480);

              • Verloren spent 8 hours reviewing Defendant's supplemental
                discovery responses ($2,200);

              • Flynn and Graham allegedly spent 120.6 hours responding to
                Defendant's Motion for Summary Judgment, including 23 hours of
                time spent by Flynn preparing for and attending the hearing
                ($31,570). (Ex. 8)6

        The amount of time spent by two or three attorneys on these tasks was

  redundant and excessive, and absolutely unreasonable. If this Court determines that

  any fees should be awarded, it should exclude these activities which totaled 395.9

  hours and $106,680 in claimed fees. (Ex. 8)

        Flynn and Graham also spent an incredibly excessive amount of time

  "conferencing," "meeting," "discussing," or "strategizing." They have a combined

  total of 84 such entries (41 for Flynn and 43 for Graham). In total, Graham and

  Flynn billed 178.25 hours, or $47,850 in claimed attorneys' fees for


        6
            Exhibit 8 contains all excessive time. The fees set forth above are simply a
  representative sample of Plaintiff's counsels' excessive and/or redundant time.


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  "conferencing," "meeting," "discussing," or "strategizing." (Ex. 9) Moreover, it is

  impossible to identify what was the subject of any of the sessions, because the time

  entries either do not identify the subject matter or Plaintiff's counsel has

  improperly block billed the time. 7 (Id.) As such, this Court should exclude the

  178.25 hours and $47,850 because Plaintiff has not met her burden to prove that

  the number of hours expended was reasonable. See Fharmacy Records v. Nassar,

  729 F. Supp. 2d 865, 884 (E.D. Mich. 2010) (stating that courts have reduced fee

  awards where the requested fee "reflected duplication of services, excessive time

  for simpl[e] or routine tasks, the use of too many attorneys, excessive

  conferencing, unnecessary consultant work, or the performance of clerical tasks by

  legal professionals.")

         This Court has also held that time billed by staff other than the essential

  participating lawyer at a deposition is unreasonable and not recoverable. See

  E.E.O.C. v. E.J. Sacco, 102 F. Supp. 2d 413, 420-21 (E.D. Mich. 2000); Sykes v.

  Anderson, 2008 WL 4776837 (E.D. Mich. Oct. 31, 2008). Graham billed 7.0

  hours, or $1,750 for attendance at the Jill Hood deposition on May 5, 2015.

  Graham only attended the deposition; he did not depose Hood. The $1,750 in fees



        7
         Every time entry by Flynn for "strategy" sessions was block-billed and 24
  were block billed by Graham. (Ex. 9) Eight of Flynn's time entries do not indicate
  with whom he was strategizing. (Id.)


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  sought by Graham for simply being present is not recoverable. 8 A total amount of

  574.15 hours for $154,530 in claimed fees must be excluded for excessive and

  redundant entries.

               2)      Inconsistent Entries.

        Courts have reduced the number of hours in a fee request when finding that

  counsel did not record their time consistently and contemporaneously with the

  expenditure of hours. See, e.g., Tinch v. City of Dayton, 199 F. Supp. 2d 758, 764

  (S.D. Ohio 2002). Comparing the time entries for the four attorneys on this matter

  reveals numerous inconsistencies and casts substantial doubt on whether the entries

  were prepared contemporaneously with the alleged legal services. For example, on

  15 entries, Flynn indicated that had conferenced or met with Graham, Verloren, or

  Mack, but none of these other attorneys had any time billed to conferencing or

  meeting on that same day. (Ex. 10) Graham had 24 similar un-matched entries.

  (Id.) Due to their inconsistent and questionable nature, these time entries, totaling

  66.6 hours, or $17,357.50 in fees, must be excluded.

               3)      Block Billed Entries.

        Block billing refers to the time-keeping method by which each attorney

  enters the total daily time spent working on a matter, rather than itemizing the time


        8
          Indeed, the amount of time spent by Graham on most matters was
  excessive.


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  expended on specific tasks. Block billing entries fail to show a breakdown of the

  time spent on each task "rendering it impossible for the Court to ascertain with a

  high degree of certainty, the time spent on each individual task." Disabled Patriots

  of Am. v. Genesis Dreamplex, LLC, No. 3:05CV7153, 2006 WL 2404140, at *4

  (N.D. Ohio Aug. 18, 2006).

        All of Mack's time entries except three were block billed, and must be

  excluded. (Ex. 11) One entry by Verloren was block billed. (Id.) Of Graham's

  182 time entries, 63 were block billed. (Id.) Of Flynn's 252 time entries, 111

  entries were block billed. (Id.) In total, Plaintiff's counsel block billed 545.25

  hours of time, resulting in total claimed fees of $144,905. (Id.)

        Because these entries do not identify how much time was spent on each task,

  it is impossible for this Court to determine whether a reasonable quantity of time

  was expended on each task. Therefore, Plaintiff has failed to meet her burden of

  demonstrating to this Court "with a high degree of certainty, the time spent on each

  individual task," Disabled Patriots at *4, and all 545.25 hours of block billed

  entries should be excluded. Alternatively, this Court has the discretion "to utilize a

  simple across-the-board reduction by a certain percentage as an alternative to line-

  by-line reductions, particularly when the fee documentation is voluminous." See,

  e.g., Project Vote v. Blackwell, No. 06-CV-1628, 2009 WL 917737, at *6 (N.D.

  Ohio Mar. 31, 2009) (citing Alliance Int’l Inc. v. United States Customs Serv., 155


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  Fed. Appx. 226, 228 (6th Cir. 2005). The Sixth Circuit has made clear that

  significant reductions in time are appropriate where block billing is used. See, e.g.,

  Auto Alliance Inter., Inc. v. U.S. Customs Service, 155 Fed. Appx. 226 (E.D. Mich.

  2005) (affirming 25% overall reduction for excessive and block billing).

        In this matter, at a minimum, a substantial percentage adjustment is

  appropriate because numerous time entries contain multiple deficiencies (i.e., an

  entry may be both vague and contain block billing). Should the Court award any

  fees, Defendant requests the Court to exclude, at a minimum, 40% of the 545.25

  hours of time (or 218.10 hours) totaling claimed fees of $57,962 associated with

  block-billed entries. Id. at 228. See also Helfman v. GE Group Life Assurance

  Co., No. 06-13528, 2011 WL 1464678, at *8 (E.D. Mich. April 18, 2011) (granting

  a reduction of twenty percent across the board in light of the ‘block billing’ and

  vague entries included in the billing records”); Chad Youth Enhancement Ctr., Inc.

  v. Colony Nat’l Ins. Co., No. 3:09-9545, 2010 WL 4007300, at *3 (M.D. Tenn.

  Oct. 12, 2010 (reducing a fee amount by twenty-five percent overall “[t]o account

  for any excessiveness, duplication, redundancy, and block billing”).

               4)    Entries For Clerical Work.

        Courts have consistently declined to award fees for hours billed by attorneys

  for clerical tasks or which constitute overhead costs normally expected in legal

  practice.   See, e.g., EEOC v. Whirlpool Corp., No. 3:06-CV-0593, 2011 WL


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  3321291, at *7 (M.D. Tenn. Aug. 2, 2011). The Court in Gibson v Scott, No. 2:12-

  CV-1128, 2014 WL 661716 (S.D. Ohio Feb. 19, 2014) explained why it reduced

  the plaintiff's attorneys' fee request:

         Plaintiff's counsel has attempted to bill for time associated with non-
         legal services, such as "organiz[ing] file," "get check for public
         records," "copy and send documents to client," and "get notebooks
         and dividers." The Court will not award attorney's fees for these
         services, as purely clerical or secretarial tasks should not be billed
         (even at a paralegal rate), because "[h]ours that are not properly billed
         to one's client also are not properly billed to one's adversary pursuant
         to statutory authority." Hensley, 461 U.S. at 437; see Missouri v.
         Jenkins, 491 U.S. 274 (1989).

         Plaintiff seeks reimbursement for numerous clerical tasks performed by

  attorneys. Graham billed 9.6 hours for clerical tasks for total claimed fees of

  $2,400, including entries such as "prepare MSJ exhibits," and "call to court, deliver

  documents to court." (Ex. 12) Flynn block billed 6.0 hours of clerical tasks,

  including time for "prepped notes" and "put together trial binder" for total claimed

  fees of $1,650. Graham and Flynn billed 15.6 hours for clerical tasks resulting in

  claimed fees of $4,050. The Court must exclude all hours and fees for clerical

  tasks performed by attorneys, which total 15. 6 hours or $4,050 in claimed fees.

         D.     Numerous Time Entries are Vague And Must Be Excluded.
         Documentation offered in support of hours charged "must be of sufficient

  detail and probative value to enable the court to determine with a high degree of

  certainty that such hours were actually and reasonably expended in the prosecution



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  of the litigation." Imwalle v. Reliance Med. Prods., 515 F.3d 531, 553 (6th Cir.

  2008) ("[C]ounsel need not record in great detail each minute he or she spent on an

  item, [but] the general subject matter should be identified") (internal quotations

  and citations omitted). "Where the documentation of hours is inadequate, the

  district court may reduce the award accordingly." Hensley, 461 U.S. at 433; see

  also Moore v. Freeman, 355 F.3d 558 (6th Cir. 2004) (finding that the attorney

  seeking compensation has the burden of documenting the number of hours spent

  on the case and maintaining records in a way that would allow a court to determine

  how much time was spent on each claim).

        All of Mack's time is vague and must be excluded; his time totals 15.85

  hours for $4,755 in claimed fees.9 For example, Mack's time consisted of entries

  that read "Review matters in file, discuss matters in file with associates," "Review

  emails" or "Review matters in preparation for trial." (Ex. 13) As such, Mack's

  time entries do not provide any detail to enable the court to determine with a high

  degree of certainty that his hours were actually and reasonably expended in the

  prosecution of the litigation. Imwalle, supra. Plaintiff has therefore not met her

  burden as to these claimed fees.




        9
         Mack never appeared in Court for any portion of trial or to argue a Motion;
  he had no substantive contact with Defendant's counsel.


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        Verloren has ten vague entries, for 20.2 hours for $5,555 in claimed fees for

  "email client re: waivers" or "review pleadings and documents." (Ex. 13) Flynn

  charged $72,490 for 263.6 hours of claimed fees for vague time, i.e, "letter to

  client," "email client," "spoke with client," or "met with client." (Id.) Graham's

  claimed fees totaled $9,300 for 19 hours of vague and undefined work. (Id.)

        In total, Plaintiff submitted 336.85 hours in vague time entries totaling

  claimed fees of $92,100. (Ex. 13) The Court should disallow these hours, or in the

  alternative, exclude least 35%, or 117.9 hours, because Plaintiff has not remotely

  met her burden to prove that the number of hours expended on these tasks was

  reasonable. See, e.g., Helfman, 2011 WL 1464678, at *8 (20% reduction for vague

  billing); Heath v. Metro. Life Ins. Co., No. 3:09-cv-0138, 2011 WL 4005409, at

  *10-11 M.D. Tenn. Sept. 8, 2011)(20% reduction for vague time entries).

        E.    The Request for Attorneys' Fees for Ada Verloren Must Be
              Denied Because The Request Does Not Comply with E.D. Mich.
              LR 54.1.2 and Her Affidavit Was Untimely Filed
        Verloren's claimed fees total $23,265.00 for 84.6 hours of work. However,

  Plaintiff failed to file a timely affidavit for Verloren's work, as required by the

  Local Rules. E.D. Mich. LR 54.1.2 states in relevant part:

             (b) . . . The motion shall also be supported by an affidavit of
             counsel setting out in detail the number of hours spent on each
             aspect of the case, the rate customarily charged by counsel for
             such work, the prevailing rate charged in the community for
             similar services, and any other factors which the court should
             consider in making the award.


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  See E.D. Mich. LR 54.1.2(b) (emphasis added).

        The Local Rule provides that the affidavit must be provided with the Motion

  for Attorneys' Fees. Id. However, on June 23, 2016, eight days after Plaintiff's

  Motion for Attorney's Fees was filed, and a week after same was due, Plaintiff

  submitted the Affidavit of Ada Verloren, which was dated June 22, 2016, and was

  notarized in Johannesburg, South Africa. (Ex. 14) In her Motion, Plaintiff claimed

  that Verloren's Affidavit would be submitted at a later date because she was out of

  the country. (Motion, p. 5) There is no provision in the Local Rule giving the

  moving party an extension for good cause, nor did Plaintiff seek an extension.

  Obviously, being out of the country was simply an excuse for an untimely filing.

  Verloren's Affidavit was simply untimely and should be stricken.                 See

  Konstantinov v. Findlay Ford Lincoln Mercury, No. 04-CV-74928, 2008 WL

  2922621, at *1 (E.D. Mich. July 28, 2008) (This Court struck a plaintiff's untimely

  affidavits in support of a motion for new trial where the affidavits were to be filed

  with the motion and the three affidavits were filed thirteen days late).

  Accordingly, Plaintiff's request for reimbursement for attorneys' fees for Verloren

  in the amount $23,265 is deficient and should be denied.




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        F.     Plaintiff's Request For Fees Must Be Drastically Reduced To
               Reflect The Poor Results Achieved.
        In Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) the United States

  Supreme Court held that "the fee applicant bears the burden of establishing

  entitlement to an award." It further held:

        If . . . a plaintiff has achieved only partial or limited success, the
        product of hours reasonably expended on the litigation as a whole
        times a reasonable hourly rate may be an excessive amount. This will
        be true even where the plaintiff’s claims were interrelated,
        nonfrivolous, and raised in good faith . . . . [T]he most critical factor
        is the degree of success obtained. (Emphasis added)

                                                 ***

        The district court may attempt to identify specific hours that should be
        eliminated, or it may simply reduce the award to account for the
        limited success.

        Id. at 436.

        A plaintiff who achieves only limited success may thus recover only limited

  fees. Plaintiff obtained a result in this case that was plainly dismal since:

        1)   she failed to prevail altogether on her FLSA retaliation claim;
        2)   the jury completely rejected her claims that Defendant caused her to
             suffer extreme emotional distress (for which she claims she sought
             therapy and took anti-depressants), caused her to lose her fiancé and her
             hair, forced her to become a shut in and destroyed her life;
        3)   she failed to offer enough evidence for the Court to even give a jury
             instruction on punitive damages;
        4)   she was obviously unable to convince the jury that she mitigated her
             damages; and
        5)   she was not awarded any future damages, but only $3,200 in economic
             damages on her WPA claim. (Ex. 15, Jury Verdict Form)

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        Indeed, the damages awarded by the jury were less than .5% of the $730,000

  Plaintiff sought at trial, less than 33% of what Defendant offered at the Settlement

  Conference with Magistrate Majzoub, and less than 22% of what Defendant

  offered before trial. See Richard v. Oak Tree Grp. Inc., No. 1:06-362, 2009 WL

  3234159, at *4 (W.D. Mich. Sept. 30, 2009) (attorneys' fee request reduced by

  eighty-five percent in part because plaintiffs only prevailed on a minor claim, and

  were awarded minimal statutory damages of $50.00, such that the award of

  $20,550.00 in attorney's fees “would be a windfall to plaintiff's attorney”); Gratz v.

  Bollinger, 353 F. Supp. 2d 929, 938 (E.D. Mich. 2005) (reducing award of

  attorneys' fees by fifty percent to account for plaintiffs’ limited success on a

  lawsuit with "historical significance."); Crown Enterprises, Inc. v. City of Romulus,

  Docket No. 286525, 2011 WL 1687625 (Mich. Ct. App. May 3, 2011) (award of

  $186,679 to owner of a truck terminal as an attorney's fee was unreasonable based

  on the degree of success obtained by owner in suit against city); Collister v.

  Sunshine Food Stores, Inc., 166 Mich. App. 272, 419 N.W.2d 781 (1988) (court

  reduced attorneys' fees from more than $15,000 to $2,000 because fees were

  "clearly excessive in light of skill, time and labor involved; the amount in question,

  the expenses incurred, and the non-complicated case involved . . . in light of the

  limited success plaintiff achieved, the award was not an abuse of discretion.")




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                                      CONCLUSION
           As a result of the paltry jury verdict, and because of the way that Plaintiff's

  counsel improperly billed their time, it is impossible for the Court to determine

  from the billing statements the amount of hours reasonably expended on the single

  claim for which Plaintiff received $3200. Therefore, for the reasons set forth

  above, this Court should deny Plaintiff's Motion for Attorneys' Fees in its entirety.

           Should the Court determine that any fees may be awarded, it should first

  make the exclusions from Plaintiff's claimed hours as set forth above, then reduce

  any remaining hours by at least 95% due to Plaintiff's lack of success. A reasonable

  hourly rate as described in section III.A must then be applied to any remaining

  hours.

                                           Respectfully submitted,

                                           VARNUM LLP

                                           BY: /s/ Terrence J. Miglio
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  Dated: July 12, 2016




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                         CERTIFICATE OF SERVICE


             I certify that on July 12, 2016, I electronically filed the
       foregoing document with the Clerk of the Court using the ECF
       system, which will send notification of such filing to the following:

                               /s/ Terrence J. Miglio
                           Terrence J. Miglio (P30541)




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